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UNITED STATES DISTR RT ted District Co
SOUTHERN DISTRICT OF TEXAS Soutien Bengt Texas,
BROWNSVILLE DIVISION

 

MAY 2 8 2019
UNITED STATES OF AMERICA §
Ded J Gradiey, Gierk of Court
vs. § CRIMINAL NO.

BENITO BARRIENTEZ §
DAMIAN ORTIZ -410.
EXY ADELAIDA GOMEZ B 1 9 52 0

SEALED

INDICTMENT

THE GRAND JURY CHARGES:

COUNT 1

INTRODUCTION

At all times material to this indictment:

The “El Valle Detention Center’ (EVDC) is an immigration detention facility located
in Raymondville, Texas, and operated by the Management and Training Corporation
(MTC) under contract with Immigration and Customs Enforcement (ICE) to detain alien |
immigrants awaiting disposition of immigration cases and/or removal from the United
States (U.S.). |

The “Willacy County Regional Detention Center” (WCRDC) is a detention facility
located in Raymondville, Texas. WWCRDC houses federal inmates detained by ICE and
by the United States Marshals Service.

The “Port Isabel Detention Center’ (PIDC) is an immigration detention facility
located in Los Fresnos, Texas, operated by ICE, where alien immigrants are detained
while awaiting disposition of immigration cases and/or removal from the U.S..

MTC is a private security company that provides and manages detention and

security services under contract with ICE to house ICE immigration detainees. MTC’s
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employees operate and act for, or on behalf of, ICE in official functions under the authority
of the department or agency. MTC provides services to EVDC and WCRDC.

ICE detains alien immigrants at facilities such as EVDC and PIDC, while said
aliens await further criminal or administrative processing for removal or release pending
further hearings.

“Alien Detainee Roster Lists” (Detainee Roster or Detainee Rosters) contain
names, dates of birth, country of origin, and “A numbers’ of alien detainees, as well as
housing assignments. Detainee Rosters are law enforcement sensitive and are for official
use only, intended to be utilized by facility employees in the course of their official
duties. Removal of Detainee Rosters from ICE detention facilities is strictly prohibited.

BENITO BARRIENTEZ (“BARRIENTEZ2”), defendant herein, was employed by
MTC assigned to the WCRDC located in Raymondville, Texas, as a Classification Clerk.

DAMIAN ORTIZ (“ORTIZ”), defendant herein, was employed by MTC assigned
to the WCRDC located in Raymondville, Texas, as a Senior Program Director.

EXY ADELAIDA GOMEZ (“GOMEZ”), defendant herein, was employed by MTC
assigned to the EVDC located in Raymondville, Texas, as a Detention Officer.

PERSON “A” is an attorney licensed to practice in the state of Texas with a
practice in the Rio Grande Valley, and who paid money to the co-conspirators in return
for receiving Detainee Rosters; and who would visit, or instruct others to visit, said aliens
for the purpose of hiring PERSON “A’s” law firm as their attorney in immigration

proceedings.
 

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THE CONSPIRACY
From on or about February 10, 2018, to on or about February 6, 2019, in the
Southern District of Texas and within the jurisdiction of the Court, Defendants,

BENITO BARRIENTEZ,
DAMIAN ORTIZ,
and
EXY ADELAIDA GOMEZ,

did knowingly and willfully conspire and agree with each other, and with persons known
and unknown to the Grand Jurors, to violate Title 18, United States Code, Sections
201(b)(1)(C) and 201(b)(2)(C), that is, the object of their conspiracy and agreement was
to corruptly give, offer, and promise a thing of value to a public official, with intent to induce
the public official to do an act in violation of official duty, and also to corruptly demand,
seek, receive, accept, and agree to receive and accept something of value personally, in
return for being induced to do an act in violation of official duty.
MANNER AND MEANS OF THE CONSPIRACY

It was a part of the conspiracy that:

Defendants BARRIENTEZ, ORTIZ, GOMEZ, and others obtained Detainee
Rosters from EVDC and PIDC detention facilities. |

Defendants BARRIENTEZ and ORTIZ would provide the Detainee Rosters to
PERSON “A” or to others as directed by PERSON “A.”

PERSON “A” would pay ORTIZ and BARRIENTEZ for the Detainee Rosters they
would provide.

PERSON “A” would provide ORTIZ and BARRIENTEZ money to pay other

conspirators who also provided Detainee Rosters.
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PERSON “A,” or others at his direction, would then visit alien immigrant detainees

at detention facilities seeking employment in immigration matters.

1.

OVERT ACTS
On or about January 4, 2019, BARRIENTEZ called GOMEZ requesting she obtain
the EVDC Detainee Roster to give to an attorney (PERSON “A”) and in return he

would pay her $300.

. On January 9, 2019, BARRIENTEZ called GOMEZ to say he had discussed her

payment with PERSON “A” and ORTIZ; all agreed that she would instead get paid
$500 for the EVDC Detainee Roster.

On January 9, 2019, GOMEZ obtained the EVDC Detainee Roster while at work
at EVDC.

On January 9, 2019, GOMEZ and BARRIENTEZ met at a parking lot in Harlingen,
Texas, where GOMEZ gave the EVDC Detainee Roster to BARRIENTEZ who then
paid her $500.

On January 9, 2019, BARRIENTEZ and ORTIZ met at a parking lot in Lyford,
Texas, where BARRIENTEZ gave the EVDC Detainee Roster to ORTIZ.

In the afternoon of January 9, 2019, ORTIZ, at the direction of PERSON “A,”
delivered the EVDC Detainee Roster to another individual in Weslaco, Texas. This
individual then paid ORTIZ $350 for the EVDC Detainee Roster.

On the evening of January 9, 2019, BARRIENTEZ obtained a Detainee Roster for
PIDC from GOMEZ. BARRIENTEZ then paid GOMEZ $200 for the PIDC Detainee

Roster.
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8. On January 10, 2019, ORTIZ obtained the PIDC Detainee Roster from
BARRIENTEZ.

9. On January 10, 2019, ORTIZ gave BARRIENTEZ $400 for the PIDC Detainee
Roster.

10.On January 14, 2019, PERSON “A” sent a text message to ORTIZ that he would
purchase the PIDC Detainee Roster for $1,000.

11.On January 14, 2019, PERSON “A” met with ORTIZ and had him drive to a location
where PERSON “A” took possession of the PIDC Detainee Roster and then had
another individual give ORTIZ a “red gift bag” containing $1,000.

12.0On or about January 15, 2019, at the direction of PERSON “A,” an individual
associated with PERSON “A’s’” law firm visited JFB (initials), a Honduran national
detained at EVDC, for the purpose of convincing JFB to hire PERSON “A’s” law
firm in an immigration matter.

13.On January 22, 2019, PERSON “A” met with ORTIZ to discuss PERSON “A’s”
continuing efforts to receive Detainee Rosters, steps to prevent discovery of said
purchases, and where the money transfers would occur.

14.On January 22, 2019, PERSON “A” sent a text message to ORTIZ to inform him
an individual, at the direction of PERSON “A”, would be delivering money to
ORTIZ’ residence.

15.On January 23, 2019, an individual, at the direction of PERSON “A”, delivered

$500 to ORTIZ’ residence.
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16.On January 31, 2019, PERSON “A” sent a text message to ORTIZ to encourage
ORTIZ to continue efforts to obtain Detainee Rosters which would be paid for, and
that money would be placed under a flower pot at ORTIZ’ residence.

17. January 31, 2019, an individual, at the direction of PERSON “A”, placed $670
under a flower pot at ORTIZ’ residence. |
In violation of Title 18, United States Code, Section 371.

COUNT 2
On or about January 9, 2019, in the Southern District of Texas and within the
jurisdiction of the Court, Defendant,

BENITO BARRIENTEZ,

did, directly and indirectly, corruptly give, offer, and promise a thing of value to a public
official, with intent to induce the public official to do an act in violation of his/her official
duty, that is, defendant gave $500.00 to a Detention Officer, a public official employed at
the EVDC, and in return the public official provided defendant with a EVDC Detainee
Roster containing law enforcement sensitive data, including names, dates of birth, country
of origin, “A-numbers”, and housing assignments of alien detainees.

In violation of Title 18, United States Code, Sections 201(b)(1)(C) and Title 18,
Untied States Code, Section 2.

COUNT 3

On or about January 9, 2019, in the Southern District of Texas and within the

jurisdiction of the Court, Defendant,
BENITO BARRIENTEZ,

did, directly and indirectly, corruptly give, offer, and promise a thing of value to a public
Official, with intent to induce the public official to do an act in violation of his/her official

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duty, that is, defendant gave $200.00 to a Detention Officer, a public official employed at
EVDC, and in return the public official provided defendant with a PIDC Detainee Roster
containing law enforcement sensitive data, including names, dates of birth, country of
origin, “A-numbers”, and housing assignments of alien detainees..

In violation of Title 18, United States Code, Sections 201(b)(1)(C) and Title 18,
Untied States Code, Section 2.

COUNT 4

On or about January 10, 2019, in the Southern District of Texas and within the

jurisdiction of the Court, Defendant,
DAMIAN ORTIZ,

did, directly and indirectly, corruptly give, offer, and promise a thing of value to a public
official, with intent to induce the public official to do an act in violation of his official duty,
that is, defendant gave $400.00 to a Classification Clerk, a public official employed at the
WCRDC detention facility, and in return the public official provided defendant with a PIDC
Detainee Roster containing law enforcement sensitive data, including names, dates of
birth, country of origin, “A-numbers”, and housing assignments of alien detainees.

In violation of Title 18, United States Code, Sections 201(b)(1)(C) and Title 18,
Untied States Code, Section 2.

COUNT 5

On or about January 9, 2019, in the Southern District of Texas and within the

jurisdiction of the Court, Defendant,

EXY ADELAIDA GOMEZ,
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a public official, employed as a Detention Officer at EVDC, directly and indirectly did
corruptly demand, seek, receive, accept, and agree to receive and accept something of
value personally, in return for being induced to do an act in violation of her official duty,
that is, defendant demanded, received, and accepted $500.00 from a person, and in
return provided said person a EVDC Detainee Roster containing law enforcement
sensitive data, including names, dates of birth, country of origin, “A-numbers”, and
housing assignments of alien detainees..

In violation of Title 18, United States Code, Sections 201(b)(2)(C) and Title 18,

Untied States Code, Section 2.

A TRUE BILL:

 

FOREPERSON OF THE GRAND JURY

RYAN K. PATRICK
UNITED STATES ATTORNEY

BS SK,
FEorw. LPL

Oscar Ponce
Assistant United States Attorney
